          Case 2:17-cr-01101-SPL Document 29 Filed 04/05/23 Page 1 of 1
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 1                                                               Apr 05 2023
 2                                                                 CLERK U.S. DISTRICT COURT
                                                                      DISTRICT OF ARIZONA
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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8   United States of America                   No. CR-17-01101-001-PHX-SPL
 9                  Plaintiff,                  ORDER TERMINATING SUPERVISED
                                                RELEASE PRIOR TO ORIGINAL
10   v.                                         EXPIRATION DATE
11   Pablo Cesar Flores Vargas
12                  Defendant.
13
             On Monday, November 27, 2017, the above named was placed on supervised
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     release for a period of sixty months. Pablo Cesar Flores Vargas has complied with the
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     rules and regulations of supervised release and is no longer in need of supervision. It is
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     accordingly recommended that Pablo Cesar Flores Vargas be discharged from
17
     supervision.
18
                                              Respectfully submitted,
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20
                                              Mauricio Gomez
21                                            U.S. Probation Officer
22
                                      ORDER OF COURT
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             Pursuant to the above report, it is ordered that Pablo Cesar Flores Vargas be
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     discharged from supervision and that the proceedings in the case be terminated.
25
26
27                                                               4/5/2023
28   Honorable Steven P. Logan                                 Date
     U.S. District Judge
